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 4
     ATTORNEYS FOR DEFENDANT
 5   ALEKSANDR MASLOV
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 7
 8
                             IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                )        Case №: 2:12-CR-0322 GEB
12                                            )
                    Plaintiff,                )
13                                            )
              vs.                             )          STIPULATION AND PROPOSED
14   ,                                        )        ORDER TO CONTINUE THE STATUS
     Aleksandr Maslov, et. al                 )         CONFERENCE FROM MAY 19, 2017
15   .                                        )                TO JUNE 30, 2017
                    Defendants.               )
16                                            )
17
18                                          STIPULATION

19           IT IS HEREBY STIPULATED AND AGREED between the parties and their
20
     attorneys, Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney
21
     for Aleksandr Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau,
22
23   attorney for Andrey Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that

24   the status conference date of Friday, May 19, 2017, should be continued to Friday, June
25
     30, 2017. The parties further stipulate as follows:
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27
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                                                   1
            STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:12-cr-00322-JAM Document 167 Filed 05/18/17 Page 2 of 4


 1          1. By previous order, the status of the competency proceedings as to defendant Aleksandr
 2   Maslov in case number 2:12-CR-083 were set for status conference on May 19, 2017. A status
 3
     conference in this matter was also set for May 19, 2017.
 4
            2. On May 16, 2017, Dr. Samantha Shelton, the evaluator from the Metropolitan
 5
     Detention Center in Los Angeles assigned to the defendant’s evaluation, informed the
 6
 7   government that she expected to finish her report on the defendant by May 26, 2017.

 8          3. The defendant, Aleksandr Maslov is currently out of custody.
 9          4. Given the release date for Dr. Shelton’s report, the parties jointly request that the
10
     currently-scheduled status conference of May 19, 2017, be vacated, and that a new status
11
     conference be set for June 30, 2017.
12
            5. Moreover, on April 28, 2017, this Court in case number 2:12-CR-083 GEB excluded
13
14   time under the Speedy Trial Act within which trial must occur through May 19, 2017, pursuant

15   to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code T4] and 3161(h)(1)(A) [Local Code A]. The
16   parties hereby jointly request that this Court order further time excluded in this matter, 2:12-CR-
17
     0322, between the date of this Order and the contemplated June 30, 2017, status conference
18
     pursuant to Local Codes T4 and A. First, the discovery in this case is voluminous, and defense
19
     counsel continues to prepare for an eventual trial, justifying continued exclusion under Local
20
21   Code T4. Independently, competency proceedings are underway, as the evaluator is currently

22   compiling her evaluative report on that subject, justifying an exclusion under Local Code A. See

23   United States v. Miranda, 986 F.2d 1283, 1294–85 (9th Cir. 1993) (holding that § 4241(a) time
24
     limits for competency evaluation do not limit excludable time for competency examinations
25
     under § 3161(h)(1)(A), and upholding exclusion of 106 days in which defendant’s mental
26
     competency evaluation report was under preparation); accord United States v. Daychild, 357
27
28   F.3d 1082, 1094 (9th Cir. 2004).
                                                       2
           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
      Case 2:12-cr-00322-JAM Document 167 Filed 05/18/17 Page 3 of 4


 1
            6.   The parties further stipulate the continuance is necessary, as counsel are still
 2
     reviewing discovery, meeting with the respective clients and investigating information as well as
 3
     researching various possible resolutions.
 4
 5
            7. Nothing in this stipulation and order shall preclude a finding that other provisions of
 6
     the Speedy Trial Act dictate that additional time periods are excludable from the period within
 7
     which a trial must commence.
 8
 9          IT IS SO STIPULATED that the time between May 19, 2017 and June 30, 2017 should
10   be excluded from the Speedy Trial calculation pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv)
11   [Local Code T4] and 3161(h)(1)(A) [Local Code A] for defense preparation and the pending
12   competency proceeding, based on the representations of the parties in their stipulation. The
13   parties stipulate that the ends of justice served by granting this continuance outweigh the best
14   interests of the public and the defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
15
16          May 18, 2017                    /s/ Kenny N. Giffard
                                                  KENNY N. GIFFARD
17                                                Attorney for Alexsandr Lastovskiy

18
            May 18, 2017                    /s/ Joseph A. Welch
19                                                 JOSEPH A. WELCH
                                                   Attorney for Tatyana Shvets
20
21          May 18, 2017                    /s/ Kelly Babineau
                                                   KELLY BABINEAU
22                                                 Attorney for Andrey Lungu

23
            May 18, 2017                    /s/ Robert M. Wilson
24                                                ROBERT M. WILSON
                                                  Attorney for Aleksandr Maslov
25
26          May 18, 2017                    /s/ Heiko Coppola
                                                   HEIKO COPPOLA
27                                                 Attorney for the United States
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                                                      3
           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
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 1
            IT IS SO ORDERED.
 2          The status conference presently set for May 19, 2017 at 9:00 A.M., is hereby continued
 3   to June 30, 2017 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from May
 4
     19, 2017 through June 30, 2017 pursuant to 18 U.S.C.§§ 3161(h)(7)(A), B(iv) [Local Code T4]
 5
     and 3161(h)(1)(A) [Local Code A] for defense preparation and the pending competency
 6
     proceeding, based on the representations of the parties in their stipulation. The Court finds that
 7
 8   the ends of justice served by granting this continuance outweigh the best interests of the public

 9   and the defendant in a speedy trial.
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11
            Dated: May 18, 2017
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           STIPULATION NAD PROPOSED ORDER TO CONTINUE STATUS CONFERECE
